         Case 1:23-mj-00036-MAU Document 1-1 Filed 02/16/23 Page 1 of 8




                                  STATEMENT OF FACTS

        I,                , am a Federal Bureau of Investigation (FBI) Special Agent assigned to
the Washington Field Office Joint Terrorism Task Force (JTTF). In my duties as a Special
Agent, I investigate crimes committed by racially-motivated violent extremists and other
domestic terrorism related matters. I have personally participated in procuring and executing
arrest warrants of persons committing federal violations and search warrants involving the search
and seizure of multiple types of evidence, to include electronic communications, digital devices,
social media accounts, cell site data, and geolocation data. Currently, I am tasked with
investigating criminal activity in and around the Capitol grounds on January 6, 2021. As an FBI
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detection, investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around
the U.S. Capitol include permanent and temporary security barriers and posts manned by U.S.
Capitol Police. Only authorized people with appropriate identification were allowed access
inside the U.S. Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also
closed to members of the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate
were meeting in separate chambers of the United States Capitol to certify the vote count of the
Electoral College of the 2020 Presidential Election, which had taken place on November 3, 2020.
The joint session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30
p.m., the House and Senate adjourned to separate chambers to resolve a particular objection.
Vice President Mike Pence was present and presiding, first in the joint session, and then in the
Senate chamber.

        As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S.
Capitol. As noted above, temporary and permanent barricades were in place around the exterior
of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the
crowd away from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway, and the exterior doors
and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however,
around 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by
breaking windows and by assaulting members of the U.S. Capitol Police, as others in the crowd
encouraged and assisted those acts.

      Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session

                                                1
         Case 1:23-mj-00036-MAU Document 1-1 Filed 02/16/23 Page 2 of 8




of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including hundreds of individuals inside the U.S. Capitol
building without authority to be there.

                   ELIZALDE’s Involvement in Events of January 6, 2021

       The FBI first assessed that ELIZALDE participated in the Capitol Riot on January 6,
2021, through geolocation data. Specifically, geolocation data identified email address
“XXXXXXX@gmail.com” present and in the restricted area of the U.S. Capitol, as well as
potentially inside the U.S. Capitol, on January 6, 2021, from approximately 1:22pm to 3:46pm.
Through legal process, Google LLC identified the registered owner of the email address,
XXXXXXX@gmail.com, as “David Elizalde” with a phone number for an account that,
according to subscriber records obtained by the FBI, is maintained by ELIZALDE.

        On December 21, 2021, ELIZALDE was interviewed at the Naval Criminal Investigative
Service (NCIS) office on Naval Station Rota, in Rota, Spain by NCIS Supervisory Special Agent
1 and FBI Supervisory Special Agent 2. ELIZALDE told the interviewing agents that on January
5, 2021, he traveled by himself via his private vehicle from Norfolk, Virginia, where he was
stationed on the USS Harry Truman (CVN75), to Falls Church, Virginia where he stayed in a
hotel. He stated that the purpose of his trip was to attend the political rally held on January 6,
2021. On the morning of January 6, 2021, ELIZALDE traveled from Falls Church, Virginia to
Washington DC via the DC Metro. ELIZALDE stated he was wearing typical civilian clothes
including jeans, tennis shoes, a dark colored t-shirt, and a black jacket.

        At some point during the day on January 6, 2021, ELIZALDE stated he moved with the
crowd towards the U.S. Capitol. 1 Although he did not notice any particular person or group
leading the effort, he heard people in the crowd shouting things such as “let’s go” and “this is our
house.” Upon walking towards the U.S. Capitol, ELIZALDE stated he observed people in the
crowd physically fighting with police officers, climbing the walls of the U.S. Capitol, climbing
scaffolding, and hanging flags. ELIZALDE stated that he walked around the scaffolding and
found a set of stairs leading up to the U.S. Capitol, which were not blocked by barricades, that he
walked up. Once at the top of the stairs, ELIZALDE stated he observed people in the crowd
causing property damage and people waving flags. From there, he then followed a line of people
who were entering the U.S. Capitol through open double doors. Once inside, ELIZALDE stated
that there were several police officers just inside the entrance, which is where one of the officers
told ELIZALDE to get out of the building, at which point he turned around and walked out.
ELIZALDE estimated that he walked about eight or nine feet into the U.S. Capitol and was in


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        All references herein to statements made by ELIZALDE are references to the sum and
substance of information conveyed by ELIZALDE and are not intended as verbatim quotations
unless specifically indicated.
                                                 2
        Case 1:23-mj-00036-MAU Document 1-1 Filed 02/16/23 Page 3 of 8




the building for less than thirty seconds. Once ELIZALDE was back outside of the U.S. Capitol,
he stated he stayed to observe the scene for a little while because he knew something historic
was happening. ELIZALDE stated that at around 2:00 to 3:00 pm, he took the Metro back to
Falls Church, which is where he remained the rest of the night.

        On April 5, 2022, ELIZALDE was re-approached by NCIS Supervisory Special Agent 1
regarding his presence at the U.S. Capitol on January 6, 2021. Pursuant to a consensual search
and seizure of ELIZALDE’s cellphone, multiple pictures and videos were located on the device,
including a video of an individual entering the U.S. Capitol on January 6, 2021. During this
interview, ELIZALDE told the interviewing agents that he took all videos and photos discovered
on this device of himself both outside and inside of the U.S. Capitol on January 6, 2021. Image 1
below is a photo from ELIZALDE’s phone of ELIZALDE outside of the U.S. Capitol, appearing
to have been taken by ELIZALDE himself. NCIS Supervisory Special Agent 1 has confirmed,
based on his in-person observation of ELIZALDE, that ELIZALDE does appear to be the
individual shown in Image 1.




                                                Image 1

       Image 2 below is a screen shot captured from the video recorded on ELIZALDE’s phone
of ELIZALDE entering the U.S. Capitol. From my experience investigating cases related to the
Capitol Riot, I recognize the inside of the building as the U.S. Capitol.




                                                3
        Case 1:23-mj-00036-MAU Document 1-1 Filed 02/16/23 Page 4 of 8




                                            Image 2

        As shown in Image 1 above, on January 6, 2021, ELIZALDE wore a black colored
jacket, a black colored hat with what appears to be an American Flag on it, and he appeared to be
holding a black and white flag in his hand. Additionally, after reviewing the aforementioned
video found on ELIZALDE’s phone and matching it up with surveillance video from the U.S.
Capitol, I have identified an individual matching ELIZALDE’s description, wearing a black
colored jacket, a black colored hat with what appears to be an American Flag on it, and holding a
flag in his hand, entering the U.S. Capitol at approximately 3:25 p.m. through the Senate Wing
Door.
       Image 3 below is a screen shot taken from the surveillance video (the timestamps on all
screenshots below are in Universal Coordinated Time, which was five hours ahead of Eastern
Standard Time on January 6, 2021). ELIZALDE is circled in red.




                                                4
Case 1:23-mj-00036-MAU Document 1-1 Filed 02/16/23 Page 5 of 8
Case 1:23-mj-00036-MAU Document 1-1 Filed 02/16/23 Page 6 of 8
Case 1:23-mj-00036-MAU Document 1-1 Filed 02/16/23 Page 7 of 8
Case 1:23-mj-00036-MAU Document 1-1 Filed 02/16/23 Page 8 of 8
